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8                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
9                             SOUTHERN DIVISION
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11     SECURITIES AND EXCHANGE                    Case No. 8:19-cv-499-JVS-KES
       COMMISSION,
12
13                  Plaintiff,                    FINAL JUDGMENT
                                                  AS TO DEFENDANT
14            vs.                                 DAVID LEE PARRISH [303]
15     KENT R.E. WHITNEY, et al.,
16
                    Defendants,
17
       and
18
       HA T. “KELLY” HOANG, et al.,
19
                     Relief Defendants.
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21
22           The Securities and Exchange Commission filed a Complaint and Defendant
23   David Lee Parrish (“Defendant”): entered a general appearance; consented to the
24   Court’s jurisdiction over Defendant and the subject matter of this action; consented
25   to entry of this Final Judgment (“Judgment”); waived findings of fact and
26   conclusions of law; and waived any right to appeal from this Judgment:
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1                                              I.
2          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
3    Defendants is permanently restrained and enjoined from violating, directly or
4    indirectly, Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5
5    promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or
6    instrumentality of interstate commerce, or of the mails, or of any facility of any
7    national securities exchange, in connection with the purchase or sale of any
8    security:
9          (a)    to employ any device, scheme, or artifice to defraud; or
10         (b)    to make any untrue statement of a material fact or to omit to state a
11                material fact necessary in order to make the statements made, in the
12                light of the circumstances under which they were made, not
13                misleading; or
14         (c)    to engage in any act, practice, or course of business which operates or
15                would operate as a fraud or deceit upon any person.
16         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
17   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
18   binds the following who receive actual notice of this Order by personal service or
19   otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
20   (b) other persons in active concert or participation with Defendant or with anyone
21   described in (a).
22                                             II.
23         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
24   that Defendant is permanently restrained and enjoined from violating Section 17(a)
25   of the Securities Act [15 U.S.C. § 77q(a)] in the offer or sale of any security by the
26   use of any means or instruments of transportation or communication in interstate
27   commerce or by use of the mails, directly or indirectly:
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1          (a)    to employ any device, scheme, or artifice to defraud; or
2          (b)    to obtain money or property by means of any untrue statement of a
3                 material fact or any omission of a material fact necessary in order to
4                 make the statements made, in light of the circumstances under which
5                 they were made, not misleading; or
6          (c)    to engage in any transaction, practice, or course of business which
7                 operates or would operate as a fraud or deceit upon the purchaser.
8          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
9    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
10   binds the following who receive actual notice of this Order by personal service or
11   otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and
12   (b) other persons in active concert or participation with Defendant or with anyone
13   described in (a).
14                                            III.
15         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
16   that Defendant is liable for disgorgement of ill-gotten gains in the amount of
17   $166,574.10. Defendant’s obligation to pay said disgorgement shall be deemed
18   satisfied by the restitution order entered on November 5, 2021 [Doc. 46] in the
19   parallel criminal matter, United States v. David Lee Parrish, Crim. No. 20-cr-
20   0035-JLS (C.D. Cali.).
21                                            IV.
22         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the
23   Consent is incorporated herein with the same force and effect as if fully set forth
24   herein, and that Defendant shall comply with all of the undertakings and
25   agreements set forth therein.
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1                                              V.
2          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for
3    purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy
4    Code, 11 U.S.C. §523, the allegations in the complaint are true and admitted by
5    Defendant, and further, any debt for disgorgement, prejudgment interest, civil
6    penalty or other amounts due by Defendant under this Final Judgment or any other
7    judgment, order, consent order, decree or settlement agreement entered in
8    connection with this proceeding, is a debt for the violation by Defendant of the
9    federal securities laws or any regulation or order issued under such laws, as set
10   forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).
11                                             VI.
12         The Asset Freeze provisions of the Court’s March 14, 2019 Temporary
13   Restraining Order and Orders: (1) Freezing Assets; Prohibiting the Destruction of
14   Documents; (3) Granting Expedited Discovery; (4) Requiring Defendants to
15   Surrender Passports; and (5) Requiring Accountings (“TRO”) [Doc. 15], shall
16   terminate only as to Defendant upon the entry of this Judgment.
17         The Court’s March 14, 2019 Order Appointing Receiver [Doc. 16] shall
18   remain in full force and effect pending further order of this Court.
19                                            VII.
20         IT IS FURTHER ORDERED that this Court shall retain jurisdiction over
21   this action for the purpose of implementing and carrying out the terms of all orders
22   and decrees which may be entered herein and to entertain any suitable application
23   or motion for additional relief within the jurisdiction of this Court.
24
25                                            VIII.
26         All relief not expressly granted herein is denied.
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1                                            IX.
2          There being no just reason for delay, pursuant to Rule 54(b) of the Federal
3    Rules of Civil Procedure, the Clerk is ordered to enter this Judgment forthwith and
4    without further notice.
5          IT IS SO ORDERED.
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7    Dated: July 14, 2023.
8                                          ________________________________
9                                          UNITED STATES DISTRICT JUDGE
                                           JAMES V. SELNA
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